    Case 13-37472          Doc 24    Filed 05/01/14 Entered 05/03/14 23:33:15      Desc Imaged
                                    Certificate of Notice Page 1 of 4
B18W (Form 18W) (08/07)

                               United States Bankruptcy Court
                                       Northern District of Illinois
                                            Case No. 13−37472
                                               Chapter 13

In re: Debtor (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Erin Lynn Gubala
   aka Erin L. Gubala
   6312 W 59th Street
   Chicago, IL 60638
Social Security / Individual Taxpayer ID No.:
   xxx−xx−9294
Employer Tax ID / Other nos.:



                          DISCHARGE OF DEBTOR AFTER COMPLETION
                                   OF CHAPTER 13 PLAN

      It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is
granted a discharge under section 1328(a) of title 11, United States Code, (the Bankruptcy Code).
      If the trustee has filed and served a notice pursuant to Section B2 (b) of the debtor's plan,
and no statement is timely filed by the mortgagee in response, the mortgage addressed by the
notice is deemed to be fully current as of the date of the notice.




                                                     FOR THE COURT


Dated: May 1, 2014                                   Jeffrey P. Allsteadt, Clerk
                                                     United States Bankruptcy Court




                  SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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Form 18W (08/07)


                                EXPLANATION OF BANKRUPTCY DISCHARGE
                                        IN A CHAPTER 13 CASE

     This court order grants a discharge to the person named as the debtor after the debtor has completed all
payments under the chapter 13 plan. It is not a dismissal of the case.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court
pursuant to section 502 of the Bankruptcy Code.

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 13 bankruptcy case are:

      a. Domestic support obligations;

      b. Debts for most student loans;

      c. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      d. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      e. Debts for restitution, or damages, awarded in a civil action against the debtor as a result of malicious or
      willful injury by the debtor that caused personal injury to an individual or the death of an individual (in a case
      filed on or after October 17, 2005);

      f. Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on which the last payment is due
      after the date on which the final payment under the plan was due;

      g. Debts for certain consumer purchases made after the bankruptcy case was filed if prior approval by the
      trustee of the debtor's incurring the debt was practicable but was not obtained;

      h. Debts for most taxes to the extent not paid in full under the plan (in a case filed on or after October 17,
      2005); and

      i. Some debts which were not properly listed by the debtor (in a case filed on or after October 17, 2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 13-37472-JBS
Erin Lynn Gubala                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: mgonzalez                    Page 1 of 2                          Date Rcvd: May 01, 2014
                                      Form ID: b18w                      Total Noticed: 18


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 03, 2014.
db            +Erin Lynn Gubala,   6312 W 59th Street,    Chicago, IL 60638-3440
21019422       Equifax Information Services, LLC,    1550 Peachtree Street NW,    Atlanta, GA 30309
21019423      +Experian Information Solutions, Inc.,    475 Anton Boulevard,    Costa Mesa, CA 92626-7037
21019424      +Freedman Anselmo Lindberg,   1771 W. Diehl, Suite 150,    Naperville, IL 60563-4947
21019426      +Freedman Anselmo Lindberg LLC,   Po Box 3228,    Naperville, IL 60566-3228
21019427      +Greenwood Village Condo Association,    3947 W. 104th Street, Unit 1B,    Chicago, IL 60655-3727
21019428      +Greenwood Village Condominium Assn,    1250 E. Diehl, Suite 405,    Naperville, IL 60563-9389
21019432      +Trans Union LLC,   1561 E. Orangethorpe Avenue,    Fullerton, CA 92831-5210
21019435    ++WELLS FARGO BANK NA,    WELLS FARGO HOME MORTGAGE AMERICAS SERVICING,
                ATTN BANKRUPTCY DEPT MAC X7801-014,    3476 STATEVIEW BLVD,    FORT MILL SC 29715-7203
              (address filed with court: Wells Fargo Home Mortgage,     8480 Stagecoach Circle,
                Frederick, MD 21701)
21019433      +Wells Fargo Home Mortgage,   5620 Brooklyn Boulevard,    Minneapolis, MN 55429-3056

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
21019419     +EDI: HFC.COM May 02 2014 00:58:00     Best Buy/HSBC Retail,    P.O. Box 17298,
               Baltimore, MD 21297-1298
21019420     +EDI: AIS.COM May 02 2014 00:58:00     Capital One, N.A. *,   c/o American Infosource,
               P.O Box 54529,   Oklahoma City, OK 73154-1529
21019421     +E-mail/Text: CENHRT-E_Notice_Claim@cable.comcast.com May 02 2014 01:26:09      Comcast,
               One Comcast Center,   Philadelphia, PA 19103-2899
21019429     +EDI: HFC.COM May 02 2014 00:58:00     Hsbc/Best Buy,   1405 Foulk Road,
               Wilmington, DE 19803-2769
21019430     +E-mail/Text: bankruptcy@sw-credit.com May 02 2014 01:25:10      Southwest Credit,
               4120 International Parkway, Suite 1100,   Carrollton, TX 75007-1958
21019431     +E-mail/Text: bankruptcy@sw-credit.com May 02 2014 01:25:10      Southwest Credit System,
               4120 International Parkway, Suite 1100,   Carrollton, TX 75007-1958
21177099     +EDI: WFFC.COM May 02 2014 00:58:00     Wells Fargo Bank, N.A.,    Attention: Bankruptcy Department,
               MAC #D3347-014,   3476 Stateview Blvd.,   Fort Mill, SC 29715-7203
21019434     +EDI: WFFC.COM May 02 2014 00:58:00     Wells Fargo Home Mortgage,    Po Box 10335,
               Des Moines, IA 50306-0335
                                                                                             TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
21019425     ##+Freedman Anselmo Lindberg LLC,   1807 W. Diehl Road, Suite 333,                      Naperville, IL 60563-1890
                                                                                                                 TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: May 03, 2014                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 1, 2014 at the address(es) listed below:
              Mohammed O Badwan    on behalf of Debtor Erin Lynn Gubala mbadwan@sulaimanlaw.com,
               mbadwan@sulaimanlaw.com;courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ECFNotice@sulaimanlaw.co
               m;SulaimanLaw@BestClientInc.com;sulaiman.igotnotices@gmail.com
              Nathan C Volheim    on behalf of Debtor Erin Lynn Gubala courtinfo@sulaimanlaw.com,
               nvolheim@sulaimanlaw.com;mbadwan@sulaimanlaw.com;bkycourtinfo@gmail.com;ECFNotice@sulaimanlaw.com
               ;sulaiman.igotnotices@gmail.com
              Nisha B Parikh    on behalf of Creditor   Wells Fargo Bank, N.A., nparikh@fal-illinois.com,
               bankruptcy@fal-illinois.com
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District/off: 0752-1         User: mgonzalez             Page 2 of 2                   Date Rcvd: May 01, 2014
                             Form ID: b18w               Total Noticed: 18


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Tom Vaughn    ecf@tvch13.net, ecfchi@gmail.com
                                                                                            TOTAL: 5
